









Dismissed and Memorandum Opinion filed May 6, 2004









Dismissed and Memorandum Opinion filed May 6, 2004.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00266-CR

____________

&nbsp;

STEVE A. MORGAN,
Appellant

&nbsp;

V.

&nbsp;

THE STATE
OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 174th District Court

Harris
County, Texas

Trial Court Cause No. 948,844

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of
murder.&nbsp; In accordance with the terms of
a plea bargain agreement with the State, the trial court sentenced appellant on
March 3, 2004, to confinement for 40 years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp;
Appellant filed a notice of appeal on March 12, 2004.&nbsp; Because appellant has no right to appeal, we
dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 6, 2004.

Panel consists of Justices Fowler,
Edelman, and Seymore.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;

&nbsp;





